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 5                             UNITED STATES DISTRICT COURT
 6                            SOUTHERN DISTRICT OF CALIFORNIA
 7                                   (Hon. Dana M. Sabraw)
 8
     UNITED STATES OF AMERICA,                 )      Case No.: 18-CR-4294-DMS
 9                                             )
                 Plaintiff,                    )
10                                             )      ORDER GRANTING
           v.                                  )      EX PARTE MOTION TO DIRECT
11                                             )      U.S. MARSHAL’S TO PRODUCE
     CHRISTOPHER HERNANDEZ and                 )      DEFENDANTS FOR ARRAIGNMENT
12   GREG AMOS,                                )      ON OSC
                                               )
13               Defendants.                   )
                                               )
14
15         GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT the U.S.
16
     Marshals Service shall produce the Defendants for arraignment on their respective
17
     Order(s) to Show Cause why probation should not be revoked (Docs. 122-123),
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19   consistent with the Orders and Writs of Habeas Corpus Ad Prosequendum entered on
20
     April 3, 2023 (Docs. 129-130), within 30 days.
21
22         IT IS SO ORDERED.

23   Dated: June 5, 2023
24                                                 Hon. Dana M. Sabraw, Chief Judge
                                                   United States District Court
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